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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                 AT COVINGTON


IN RE: CIVIL ACTIONS


                            STANDING REFERRAL ORDER


      Having reviewed the record herein and reached the conclusion

that judicial economy and efficiency would be best served by

referring this action to the assigned United States Magistrate

Judge at Covington, to supervise discovery and other pretrial

proceedings, unless altered by subsequent Order,

      IT IS ORDERED as follows:

      1.    That this case be, and it is, hereby referred to the

presiding United States Magistrate Judge at Covington to supervise

discovery and pretrial proceedings.               Unless otherwise ordered by

the court, the case will revert back to the undersigned to hold the

final pretrial conference and trial.

      2.     That,     in   connection     with    such    reference,   the     said

Magistrate Judge is authorized to conduct all pretrial and status

conferences, to hold such hearings as may be required, and to rule

on nondispositive motions, pursuant to 28 U.S.C. § 636(b)(1),

except motions in limine. See Brown v. Wesley’s Quaker Maid, Inc.,

771 F.2d 952 (6th Cir. 1985).           Dispositive motions and motions in

limine     will   be   referred    by   the   Clerk   of    this   court   to    the

undersigned.       Subject    to   other      provisions    of   law,   the   final
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pretrial conference and trial will also be before the undersigned,

unless the parties agree to a trial by a Magistrate Judge, pursuant

to 28 U.S.C. § 636(c).



      This 18th day of June, 2010.
